Case 9:23-cv-00061-DLC Document5 Filed 05/23/23 Page 1 of 4

Rob Cameron

Nathan D. Bilyeu

JACKSON, MURDO & GRANT, P.C.
203 North Ewing

Helena, MT 59601

(406) 389-8244
rcameron@jmgattorneys.com
nbilyeu@jmgattorneys.com

Alexander A. Berengaut*
Megan A. Crowley*
COVINGTON & BURLING LLP
850 Tenth Street, NW
Washington, DC 20001

(202) 662-5367
aberengaut@cov.com
mcrowley@cov.com

*pro hac vice application filed
contemporaneously herewith

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
TIKTOK INC.,
Plaintiff,
CV-23-61-DLC
V.
MOTION FOR PRO HAC VICE

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the

State of Montana,

ADMISSION OF ALEXANDER
A. BERENGAUT

Defendant.

“mse mee” mee Nee” “ime!” Nome” gee!” mpeg” “Smee “ree” “nee”
Case 9:23-cv-00061-DLC Document5 Filed 05/23/23 Page 2 of 4

Pursuant to Local Rule 83.1(d) of the United States District Court for the
District of Montana, Rob Cameron respectfully moves the Court for the admission
pro hac vice of attorney Alexander A. Berengaut, Covington & Burling LLP, 850
Tenth Street NW, Washington, DC 20001, for the purposes of this action.

The Declaration attached to this motion sets forth the merits of the motion
pursuant to Local Rule 83.1(d)(4). Mr. Berengaut is an active member in good
standing of the courts set forth in his Declaration, is of good moral character, and
has been retained to appear in this Court on behalf of Plaintiff.

Furthermore, pursuant to Local Rule 83.1(d)(3), Mr. Berengaut has obtained
the written consent of the undersigned local counsel with whom the Court and
opposing counsel may readily communicate regarding the conduct of the case,
upon whom documents will be served, and who will be responsible to participate
as required under Local Rule 83.1(d){7).

WHEREFORE, Plaintiff respectfully requests that the Court grant its Motion
for Pro Hac Vice Admission of Alexander A. Berengaut and allow Mr. Berengaut
to participate as counsel for Plaintiff in this matter. A Proposed Order is attached.
/TTf
f/f
‘Tf

Hf f
Case 9:23-cv-00061-DLC Document5 Filed 05/23/23 Page 3 of 4

DATED: May 23, 2023

SU La
Rob Cameron
Nathan D. Bilyeu
JACKSON, MURDO & GRANT, P.C.
203 North Ewing
Helena, MT 59601
(406) 389-8244
reameron@jmgattorneys.com
nbilyeu@jmgattorneys.com

 

Attorneys for Plaintiff
Case 9:23-cv-00061-DLC Document5 Filed 05/23/23 Page 4 of 4

CONSENT

Pursuant to Local Rule 83.1(d)(3), Rob Cameron of Jackson, Murdo & Grant
P.C., 203 North Ewing, Helena, Montana 59601, 406-389-8244, certifies that he is
a member in good standing of the State Bar of Montana, and hereby consents to
being associated as attorney of record in the above-referenced case, and with
whom the Court and opposing counsel may readily communicate regarding the
conduct of the case, upon whom papers shall be served, and who will be
responsible to participate as required under Local Rule 83.1(d)(7).

DATED: May 23, 2023

DMMB i

Rob Cameron

JACKSON, MURDO & GRANT, P.C.
203 North Ewing

Helena, MT 59601

(406) 389-8244
rcameron@jmgattomeys.com

 
